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                                     EXHIBIT A

                              First Monthly Fee Statement




 DOCS_LA:338148.1 05067/002
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: April 6, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
       LLC FOR THE PERIOD JUNE 1, 2020 THROUGH OCTOBER 31, 2020

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from June 1, 2020 through October 31, 2020 (the

 “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


                                                         1
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        3.      The detailed time records of BRG for the Statement Period are attached hereto as

 Exhibits B-F, respectively.

        4.      In addition, under separate cover, the detailed time records under Exhibits B-F will

 be sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                                June 1, 2020 to October 31, 2020

               Fees (at standard rates)                         $205,361.00

                (Voluntary Reduction)                          ($28,870.50)

               Fees (After reduction)                          $176,490.50



               Expenses                                           $3,807.52

               Total                                            $180,298.02




                                                 2
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                         NOTICE AND OBJECTION PROCEDURES

        6.      In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

        7.      Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before April 6, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

        8.      If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $144,999.92 which consists of eighty percent (80%) of BRG’s total fees of

 $176,490.50, or $141,192.40, and one hundred percent (100%) of BRG’s total expenses of

 $3,807.52 for the Statement Period.

        9.      To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
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 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: March 23, 2021                                Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




                                                  4
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                                     EXHIBIT A

                                 (Timekeeper Summary)




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        COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
                  JUNE 1, 2020 THROUGH OCTOBER 31, 2020


         Name                       Title        Hourly Rate   Hours    Amount

 George Koutouras             Managing              $795          0.4      $318.00
                              Director

 Ernest Dixon                 Managing              $695          1.2      $834.00
                              Director
 David Judd                   Managing              $640         15.6     $9,984.00
                              Director
 Ozgur Kan                    Managing              $600         25.0    $15,000.00
                              Director
 Paul Shields                 Managing              $590        159.0    $93,810.00
                              Director

 Ray Strong                   Managing              $565          3.3     $1,864.50
                              Director
 Matthew Babcock              Associate             $515         42.0    $21,630.00
                              Director
 Jared Funk                   Senior Managing       $505          8.9     $3,913.00
                              Consultant
 Jeffrey Shaw                 Senior Managing       $455          8.6     $4,494.50
                              Consultant
 Nicholas Zeien               Managing              $340          0.5      $170.00
                              Consultant
 Christina                    Senior Associate      $270         27.4     $7,398.00
 Tergevorkian
 Shelby Chaffos               Associate             $220         49.0    $10,780.00
 Alisa Hulme                  Case Assistant        $215          7.1     $1,526.50
 Sherry Anthon                Case Assistant        $195         16.4     $3,198.00
 Evelyn Perry                 Case Assistant        $175          6.4     $1,120.00

 Spencer Smith                Case Assistant        $150          3.0      $450.00

                                                                373.8   $176,490.50




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                                     EXHIBIT B

                                     (June Invoice)




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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 2 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108274
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From June 1, 2020 Through June 30, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Paul Shields                                                             590.00        4.70           2,773.00
  Ray Strong                                                               565.00        2.60           1,469.00

Associate Director
   Matthew Babcock                                                         515.00        9.40           4,841.00

Total Professional Services                                                             16.70           9,083.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108274
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
   100.00     Case Background                                                             0.70            360.50
  1000.00     Case Administration                                                         0.30            154.50
  1010.00     Employment Application                                                      1.10            566.50
   200.10     Document / Data Analysis (Data Room)                                        0.20            118.00
   200.20     Document / Data Analysis (Financial / Accounting)                           1.70            875.50
   200.30     Document / Data Analysis (Financial / Accounting) - Accounting System       2.60          1,469.00
   200.90     Document / Data Analysis (Production Requests)                              2.80          1,584.50
   211.03     Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)              3.50          1,907.50
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
  220.00      Reporting)                                                                   1.60           914.00
  222.00      Debtors Operations / Monitoring (Other Reports)                              0.30           154.50
  330.00      Asset Analysis (Real Property - Debtors)                                     1.90           978.50

Total Professional Services                                                               16.70         9,083.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108274
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From June 1, 2020 Through June 30, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount
Task Code: 100.00 - Case Background
06/19/20     Matthew Babcock              Spoke with UCC Counsel (LC) regarding        0.50      515.00           257.50
                                          case issues.
06/23/20     Matthew Babcock              Spoke with UCC Counsel (LC, DB) in           0.20      515.00           103.00
                                          regard to case issues.
                                         Total for Task Code 100.00                    0.70                       360.50
Task Code: 1000.00 - Case Administration
06/22/20     Matthew Babcock             Coordinated supplemental conflicts            0.30      515.00           154.50
                                         check process.
                                       Total for Task Code 1000.00                     0.30                       154.50
Task Code: 1010.00 - Employment Application
06/29/20     Matthew Babcock           Revised employment application.                 0.50      515.00           257.50
06/30/20     Matthew Babcock              Revised employment application.              0.60      515.00           309.00
                                       Total for Task Code 1010.00                     1.10                       566.50
Task Code: 200.10 - Document / Data Analysis (Data Room)
06/24/20     Paul Shields              Reviewed communications regarding               0.20      590.00           118.00
                                       access to data room.
                                       Total for Task Code 200.10                      0.20                       118.00
Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
06/23/20     Matthew Babcock           Reviewed indemnity financial                    0.50      515.00           257.50
                                       information.
06/24/20     Matthew Babcock              Reviewed bond documents.                     0.30      515.00           154.50
06/24/20     Matthew Babcock              Continued review of indemnity                0.90      515.00           463.50
                                          financial information.
                                       Total for Task Code 200.20                    1.70                         875.50
Task Code: 200.30 - Document / Data Analysis (Financial / Accounting) - Accounting System
06/24/20     Ray Strong                Analyzed software consultants for             0.70        565.00           395.50
                                       Diocese financial systems.
06/25/20     Ray Strong                   Continued Analysis of software               1.90      565.00         1,073.50
                                          consultants for Diocese financial
                                          systems.
                                       Total for Task Code 200.30                      2.60                     1,469.00
Task Code: 200.90 - Document / Data Analysis (Production Requests)
06/22/20     Matthew Babcock           Prepared document / data request list.          0.50      515.00           257.50
06/22/20     Paul Shields                 Prepared document / data request.            0.20      590.00           118.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108274
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
06/23/20     Matthew Babcock              Participated in conference call with         0.40      515.00           206.00
                                          Debtor's Counsel, FA and UCC Counsel
                                          (LC and DB) in order to discuss case
                                          issues (including requests for financial
                                          reports / data).
06/23/20     Paul Shields                 Evaluated issues associated with             0.40      590.00           236.00
                                          records needed in connection with
                                          motion to discuss in preparation for
                                          call with Debtor's Counsel and
                                          Financial Advisors and UCC Counsel.
06/23/20     Paul Shields                 Spoke with Debtor's Counsel and              0.40      590.00           236.00
                                          Financial Advisors, and UCC Counsel
                                          (LC and DB) regarding Archdiocese and
                                          non-debtor affiliates in connection
                                          with request for information and
                                          records.
06/29/20     Paul Shields                 Reviewed document request and                0.90      590.00           531.00
                                          offered proposed edits, including
                                          inquiry into additional requests for
                                          consideration.
                                        Total for Task Code 200.90                     2.80                     1,584.50
Task Code: 211.03 - Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)
06/18/20     Matthew Babcock            Examined motion to dismiss, including          0.70      515.00           360.50
                                        consideration of financial / solvency
                                        issues.
06/22/20     Matthew Babcock              Evaluated issues related to Debtor's         0.50      515.00           257.50
                                          solvency, including discussions with
                                          BRG (PS).
06/22/20     Matthew Babcock              Spoke with UCC Counsel (JS, LC) in           0.90      515.00           463.50
                                          regard to case issues, including motion
                                          to dismiss.
06/22/20     Paul Shields                 Evaluated issues relating to solvency        0.50      590.00           295.00
                                          assessment and financial condition of
                                          Archdiocese of New Orleans in
                                          preparation for call with counsel,
                                          including discussions with BRG (MB).
06/22/20     Paul Shields                 Spoke with UCC Counsel (JS and LC)           0.90      590.00           531.00
                                          regarding solvency assessment,
                                          financial condition of Archdiocese of
                                          New Orleans and Motion to Dismiss.
                                          Total for Task Code 211.03                   3.50                     1,907.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 6 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108274
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                        Description                             Hours       Rate                Amount
Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
06/26/20     Paul Shields                Evaluated May Chapter 11 Financial        0.80    590.00                 472.00
                                         Report.
06/30/20     Matthew Babcock              Reviewed May 2020 MOR supporting             0.40      515.00           206.00
                                          transaction details.
06/30/20     Paul Shields                 Evaluated periodic reporting detail for      0.40      590.00           236.00
                                          the period ending June 30, 2020.
                                         Total for Task Code 220.00                    1.60                       914.00
Task Code: 222.00 - Debtors Operations / Monitoring (Other Reports)
06/24/20     Matthew Babcock             Reviewed Parish Service Agreements.           0.30      515.00           154.50
                                          Total for Task Code 222.00                   0.30                       154.50
Task Code: 330.00 - Asset Analysis (Real Property - Debtors)
06/22/20     Matthew Babcock              Researched proposed sale of property         0.80      515.00           412.00
                                          (4119 St Elizabeth Drive, Kenner LA).
06/24/20     Matthew Babcock              Researched potential comparables for         1.10      515.00           566.50
                                          4119 St Elizabeth Drive, Kenner LA.
                                          Total for Task Code 330.00                   1.90                       978.50

Professional Services                                                                 16.70                     9,083.00
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                                      EXHIBIT C

                                      (July Invoice)




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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 2 of 10
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From July 1, 2020 Through July 31, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Paul Shields                                                             590.00       26.30          15,517.00
  Ray Strong                                                               565.00        0.70             395.50

Associate Director
   Matthew Babcock                                                         515.00       12.70           6,540.50

Senior Managing Consultant
   Jared Funk                                                              505.00        8.90           4,494.50

Associate
   Shelby Chaffos                                                          220.00       13.50           2,970.00

Case Assistant
   Alisa Hulme                                                             215.00        6.10           1,311.50
   Spencer Smith                                                           150.00        2.00             300.00

Total Professional Services                                                             70.20          31,529.00

EXPENSES

Data Research                                                                                               8.37
Total Expenses                                                                                              8.37
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 3 of 10
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.30      Document / Data Analysis (Financial / Accounting) - Accounting System       1.10            601.50
  200.50      Document / Data Analysis (Related Non-Debtors)                              5.50          2,448.00
  200.60      Document / Data Analysis (PPP Loans)                                       18.40          8,474.00
  200.90      Document / Data Analysis (Production Requests)                              0.30            154.50
  210.00      Bankruptcy Proceedings (Filings / Motions - General)                        0.20            118.00
  211.03      Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)              5.30          2,247.00
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
   220.00     Reporting)                                                                  23.40         8,661.00
   300.00     Asset Analysis (General - Debtors)                                           3.80         1,957.00
   330.00     Asset Analysis (Real Property - Debtors)                                     0.40           206.00
  1000.00     Case Administration                                                          5.10         3,009.00
  1010.00     Employment Application                                                       0.60           309.00
  1020.00     Meeting Preparation & Attendance                                             6.10         3,344.00

Total Professional Services                                                               70.20        31,529.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 4 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From July 1, 2020 Through July 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.30 - Document / Data Analysis (Financial / Accounting) - Accounting System
07/01/20     Matthew Babcock           Spoke with potential Financial Edge           0.40        515.00           206.00
                                       consultant.
07/01/20     Ray Strong                   Analyzed financial accounting system         0.50      565.00           282.50
                                          consultant options.
07/06/20     Ray Strong                   Continued analysis of financial              0.10      565.00            56.50
                                          accounting system consultant options.
07/30/20     Ray Strong                   Evaluated Financial Edge consultants         0.10      565.00            56.50
                                          to assist with data extraction queries,
                                          and preparation of reports from
                                          system.
                                          Total for Task Code 200.30                   1.10                       601.50

Task Code: 200.50 - Document / Data Analysis (Related Non-Debtors)
07/14/20     Jared Funk                Developed listing of Archdiocese of             1.90      505.00           959.50
                                       New Orleans non-debtor affiliates
                                       from various sources.
07/14/20     Paul Shields                 Reviewed bankruptcy filings to identify      0.90      590.00           531.00
                                          list of potential non-debtor affiliates.
07/15/20     Alisa Hulme                  Developed listing of Archdiocese of          1.40      215.00           301.00
                                          New Orleans non-debtor affiliates
                                          from various sources.
07/16/20     Jared Funk                   Reviewed and updated listing of              1.30      505.00           656.50
                                          Archdiocese of New Orleans non-
                                          debtor affiliates.
                                          Total for Task Code 200.50                   5.50                     2,448.00

Task Code: 200.60 - Document / Data Analysis (PPP Loans)
07/14/20     Jared Funk                Researched and developed listing of             0.90      505.00           454.50
                                       PPP loans obtained by Archdiocese of
                                       New Orleans units and non-debtor
                                       affiliates.
07/14/20     Paul Shields                 Reviewed information regarding               0.80      590.00           472.00
                                          access to information of those
                                          receiving PPP Loans and instructed
                                          BRG personnel (JF and AH) regarding
                                          work to perform.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 10
c/o: Official Committee of Unsecured Creditors                                                             Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for            Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                  Hours        Rate          Amount
07/15/20     Jared Funk                   Continued research and development            1.00      505.00           505.00
                                          of listing of PPP loans obtained by
                                          Archdiocese of New Orleans units and
                                          non-debtor affiliates.
07/15/20     Alisa Hulme                  Continued research and development            1.20      215.00           258.00
                                          of listing of PPP Loans obtained by
                                          Archdiocese of New Orleans units and
                                          affiliates.
07/15/20     Alisa Hulme                  Researched and developed listing of           1.90      215.00           408.50
                                          PPP Loans obtained by Archdiocese of
                                          New Orleans units and affiliates.
07/16/20     Jared Funk                   Continued review and update of listing        1.50      505.00           757.50
                                          of PPP loans obtained by Archdiocese
                                          of New Orleans units and affiliates.
07/17/20     Jared Funk                   Continued review and update of listing        2.30      505.00         1,161.50
                                          of PPP loans by Archdiocese of New
                                          Orleans unites and affiliates.
07/17/20     Alisa Hulme                  Continued review and update of listing        1.60      215.00           344.00
                                          of PPP Loans obtained by Archdiocese
                                          of New Orleans unites and affiliates.
07/17/20     Paul Shields                 Evaluated analysis performed to date          1.30      590.00           767.00
                                          on PPP loans made to the Archdiocese
                                          of New Orleans units and affiliates.
07/18/20     Matthew Babcock              Examined and updated PPP analysis.            0.70      515.00           360.50
07/18/20     Paul Shields                 Updated structure of PPP loan                 0.90      590.00           531.00
                                          analysis.
07/18/20     Paul Shields                 Reviewed and updated analysis of PPP          3.20      590.00         1,888.00
                                          loans obtained by Archdiocese of New
                                          Orleans affiliated entities and units,
                                          including additional research in order
                                          to identify potential duplication of
                                          entries.
07/19/20     Matthew Babcock              Updated analysis of PPP loans                 0.50      515.00           257.50
                                          obtained by affiliates / related entities.
07/20/20     Matthew Babcock              Revised analysis of PPP loans obtained        0.60      515.00           309.00
                                          by affiliates / related entities.
                                          Total for Task Code 200.60                   18.40                     8,474.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 6 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.90 - Document / Data Analysis (Production Requests)
07/10/20     Matthew Babcock           Reviewed document production                    0.30      515.00           154.50
                                       related to claims bar date motion,
                                       including suggested revisions to UCC
                                       Counsel.
                                          Total for Task Code 200.90                   0.30                       154.50

Task Code: 210.00 - Bankruptcy Proceedings (Filings / Motions - General)
07/06/20     Paul Shields               Reviewed critical dates memorandum             0.20      590.00           118.00
                                        and other communications.
                                          Total for Task Code 210.00                   0.20                       118.00

Task Code: 211.03 - Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)
07/01/20     Paul Shields               Reviewed motion to dismiss and                 0.80      590.00           472.00
                                        submitted edits for consideration by
                                        UCC Counsel.
07/07/20     Paul Shields                 Reviewed communications regarding            0.20      590.00           118.00
                                          motion to dismiss and bar date
                                          motion, and coordinated timing for a
                                          call with counsel.
07/08/20     Paul Shields                 Reviewed motion to dismiss, 2019             0.40      590.00           236.00
                                          audit report and May Chapter 11
                                          Financial Report in preparation for call
                                          with UCC Council regarding document
                                          request in connection with motion to
                                          dismiss and bar date motion.
07/25/20     Paul Shields                 Uploaded information relating to             0.20      590.00           118.00
                                          motion to dismiss.
07/29/20     Paul Shields                 Spoke with UCC Counsel regarding             0.80      590.00           472.00
                                          budget and motion to dismiss.
07/30/20     Paul Shields                 Researched industry and                      0.90      590.00           531.00
                                          benchmarking data.
07/31/20     Spencer Smith                Researched industry and                      2.00      150.00           300.00
                                          benchmarking data.
                                          Total for Task Code 211.03                   5.30                     2,247.00

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
07/01/20     Paul Shields                Conducted further analysis of May         1.80    590.00               1,062.00
                                         Chapter 11 Financial Report, including
                                         outlining supplement to records / data
                                         request.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 7 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
07/02/20     Paul Shields                 Communicated with the Archdiocese            0.20      590.00           118.00
                                          of New Orleans Financial Advisor
                                          regarding additional supporting
                                          documentation for May Chapter 11
                                          Financial Report.
07/06/20     Matthew Babcock              Analyzed May 2020 MOR.                       0.60      515.00           309.00
07/06/20     Shelby Chaffos               Compared cash and investments                1.30      220.00           286.00
                                          account amounts reflected in April 30
                                          balance including in May Chapter 11
                                          Financial Report as compared to cash
                                          and investment account amounts set
                                          forth in bankruptcy schedules.
07/06/20     Paul Shields                 Analyzed May Chapter 11 Financial            1.50      590.00           885.00
                                          Report in preparation for call with
                                          UCC, including evaluating apparent
                                          discrepancies in data reported in
                                          beginning balances set forth in May
                                          Chapter 11 Financial Report as
                                          compared to bankruptcy schedules.
07/16/20     Matthew Babcock              Continued review of June 30, 2020            0.30      515.00           154.50
                                          periodic financial reports provided by
                                          Debtor.
07/16/20     Paul Shields                 Continued reviewed of June 30, 2020          0.40      590.00           236.00
                                          periodic reports, including
                                          communications regarding accessing
                                          Excel files that are password
                                          protected.
07/24/20     Paul Shields                 Communicated with Debtor's financial         0.30      590.00           177.00
                                          advisor regarding periodic reporting
                                          and asked to obtain files that aren't
                                          password protected.
07/30/20     Matthew Babcock              Discussed case issues with BRG (PS),         1.10      515.00           566.50
                                          including analysis of Debtor's periodic
                                          reports and preparation of budget
                                          pursuant to UCC request.
07/30/20     Shelby Chaffos               Spoke with Paul Shields to validate          1.30      220.00           286.00
                                          data provided in the periodic reports
                                          and monthly operating reports, and
                                          developed approach for summarizing
                                          information contained in these
                                          reports.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 8 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
07/30/20     Shelby Chaffos               Analyzed June 30, 2020 periodic              3.00      220.00           660.00
                                          reports.
07/30/20     Paul Shields                 Coordinated and participated on call         0.20      590.00           118.00
                                          with Debtor's Financial Advisor
                                          regarding periodic reporting
                                          submissions.
07/30/20     Paul Shields                 Spoke with BRG personnel (SC) to             1.30      590.00           767.00
                                          evaluate data provided in periodic
                                          reports, and developed approach for
                                          summarizing data contained in these
                                          reports.
07/30/20     Paul Shields                 Spoke with BRG personnel (MB)                1.10      590.00           649.00
                                          regarding period reporting and
                                          Chapter 11 Financial Reports.
07/31/20     Shelby Chaffos               Merged data from June - July 2020            2.00      220.00           440.00
                                          periodic reports and May 2020
                                          monthly operating report.
07/31/20     Shelby Chaffos               Standardized the payee category from         2.00      220.00           440.00
                                          disbursement data covering the period
                                          05/1/20 - 07/17/20.
07/31/20     Shelby Chaffos               Analyzed periodic reports covering the       3.00      220.00           660.00
                                          period of 07/01/20 - 07/17/20.
07/31/20     Shelby Chaffos               Spoke with Paul Shields to validate          0.90      220.00           198.00
                                          data provided in the periodic reports
                                          and monthly operating reports, and
                                          developed approach for summarizing
                                          data contain in these reports.
07/31/20     Paul Shields                 Evaluated merged periodic reporting          1.10      590.00           649.00
                                          data, including calls with staff to
                                          instruct regarding analysis to perform.
                                          Total for Task Code 220.00                  23.40                     8,661.00

Task Code: 300.00 - Asset Analysis (General - Debtors)
07/06/20     Matthew Babcock             Examined amended SOFA, including              0.90      515.00           463.50
                                         identification of differences.
07/06/20     Matthew Babcock              Examined amended Schedules,                  2.40      515.00         1,236.00
                                          including identification of differences.
07/29/20     Matthew Babcock              Updated analysis of bankruptcy               0.50      515.00           257.50
                                          schedules and statements.
                                          Total for Task Code 300.00                   3.80                     1,957.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 9 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                          Description                                Hours        Rate          Amount

Task Code: 330.00 - Asset Analysis (Real Property - Debtors)
07/02/20     Matthew Babcock              Analyzed issues related to potential         0.40      515.00           206.00
                                          sale of 4119 St Elizabeth Drive, Kenner
                                          LA.
                                           Total for Task Code 330.00                  0.40                       206.00

Task Code: 1000.00 - Case Administration
07/25/20     Paul Shields                Reviewed budget and solvency                  0.30      590.00           177.00
                                         information.
07/27/20     Paul Shields                  Set up task codes for fee application       0.40      590.00           236.00
                                           preparation.
07/27/20     Paul Shields                  Categorized and evaluated historical        1.00      590.00           590.00
                                           time and developed budget for time
                                           through hearings relating to motion to
                                           dismiss and bar date motion.
07/28/20     Paul Shields                  Categorized June and July time by task      0.70      590.00           413.00
                                           code.
07/29/20     Paul Shields                  Continued evaluation of historical time     1.20      590.00           708.00
                                           and development of budget for time
                                           through hearings relating to motion to
                                           dismiss and bar date motion.
07/30/20     Paul Shields                  Finalized fee estimate and                  1.00      590.00           590.00
                                           communicated fee estimate with
                                           assumptions and conditions.
07/30/20     Paul Shields                  Spoke with UCC Counsel (LC) regarding       0.50      590.00           295.00
                                           budget and other case issues.
                                           Total for Task Code 1000.00                 5.10                     3,009.00

Task Code: 1010.00 - Employment Application
07/01/20     Matthew Babcock           Finalized retention application.                0.60      515.00           309.00
                                           Total for Task Code 1010.00                 0.60                       309.00

Task Code: 1020.00 - Meeting Preparation & Attendance
07/08/20     Matthew Babcock            Participated in conference call to             1.70      515.00           875.50
                                        discuss motion to dismiss and bar date
                                        motion.
07/08/20     Paul Shields                  Spoke with UCC Counsel regarding            1.70      590.00         1,003.00
                                           document request and other issues
                                           associated with motion to dismiss and
                                           bar date motion.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 10 of 10
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108275
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
07/13/20     Matthew Babcock              Update call with UCC Counsel (LC)            0.70      515.00           360.50
                                          regarding motion to discuss, bar date
                                          motion, document requests, and
                                          preparation of budget.
07/13/20     Paul Shields                 Participated on update call with UCC         0.70      590.00           413.00
                                          Counsel (LC) regarding motion to
                                          discuss, bar date motion, document
                                          requests, and preparation of budget.
07/14/20     Matthew Babcock              Participated in call with UCC Counsel        0.30      515.00           154.50
                                          regarding request relating to
                                          Archdiocese of New Orleans obtaining
                                          PPP funds.
07/14/20     Paul Shields                 Participated in call with UCC Counsel        0.30      590.00           177.00
                                          regarding request relating to
                                          Archdiocese of New Orleans obtaining
                                          PPP funds.
07/29/20     Matthew Babcock              Spoke with UCC Counsel regarding             0.70      515.00           360.50
                                          case issues.
                                          Total for Task Code 1020.00                  6.10                     3,344.00

Professional Services                                                                 70.20                    31,529.00

DETAIL OF EXPENSES

Date             Description                                                                                     Amount
Data Research
07/31/20         IBISWorld* (ibisworld.com)                                                                         8.37
                 Total For Data Research                                                                            8.37

Expenses                                                                                                            8.37
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                                      EXHIBIT D

                                    (August Invoice)




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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 2 of 16
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From August 1, 2020 Through August 31, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  George Koutouras                                                         795.00        0.40             318.00
  David Judd                                                               640.00       15.60           9,984.00
  Ozgur Kan                                                                600.00       25.00          15,000.00
  Paul Shields                                                             590.00      105.90          62,481.00

Associate Director
   Matthew Babcock                                                         515.00       10.70           5,510.50

Senior Managing Consultant
   Jeffrey Shaw                                                            455.00        8.60           3,913.00

Managing Consultant
  Nicholas Zeien                                                           340.00        0.50             170.00

Senior Associate
   Christina Tergevorkian                                                  270.00       27.40           7,398.00

Associate
   Shelby Chaffos                                                          220.00       35.50           7,810.00

Case Assistant
   Alisa Hulme                                                             215.00        1.00             215.00
   Sherry L. Anthon                                                        195.00       16.40           3,198.00
   Evelyn Perry                                                            175.00        6.40           1,120.00
   Spencer Smith                                                           150.00        1.00             150.00

Total Professional Services                                                            254.40         117,267.50

EXPENSES

Data Research                                                                                             131.10
Real Estate Consulting Services                                                                         3,648.75
Total Expenses                                                                                          3,779.85
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                       Page 3 of 16
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                 Hours         Amount
  200.00      Document / Data Analysis (General)                                           0.20           103.00
  200.60      Document / Data Analysis (PPP Loans)                                         1.70         1,085.00
  200.90      Document / Data Analysis (Production Requests)                               1.80         1,024.50
  211.03      Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)             191.90        82,362.00
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
   220.00     Reporting)                                                                   2.70         1,593.00
   300.00     Asset Analysis (General - Debtors)                                           1.30           669.50
   420.00     Litigation Analysis (Expert Report Evaluation)                               6.30         3,784.50
   600.00     Claims / Liability Analysis (General)                                        9.30         3,345.50
  1000.00     Case Administration                                                          0.40           236.00
  1020.00     Meeting Preparation & Attendance                                            11.30         6,239.50
  1050.00     Deposition Preparation & Attendance                                         27.50        16,825.00

Total Professional Services                                                              254.40       117,267.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 4 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From August 1, 2020 Through August 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.00 - Document / Data Analysis (General)
08/04/20     Matthew Babcock           Reviewed and signed protective order.           0.20      515.00           103.00
                                          Total for Task Code 200.00                   0.20                       103.00

Task Code: 200.60 - Document / Data Analysis (PPP Loans)
08/24/20     Paul Shields              Evaluated issues associated with the            0.90      590.00           531.00
                                       potential impact of PPP Loans.
08/27/20     George Koutouras             Advised Paul Shields regarding loan          0.40      795.00           318.00
                                          forgiveness and financial impact of
                                          PPP loans.
08/27/20     Paul Shields                 Consulted with George Koutouras              0.40      590.00           236.00
                                          regarding loan forgiveness and
                                          financial impact of PPP loans.
                                          Total for Task Code 200.60                   1.70                     1,085.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
08/04/20     Paul Shields              Spoke with UCC Counsel regarding                0.30      590.00           177.00
                                       document requests relating to motion
                                       to dismiss.
08/05/20     Matthew Babcock              Participated in call with Debtors            0.50      515.00           257.50
                                          Counsel, Debtor's FA and UCC Counsel
                                          in order to discuss document
                                          production issues.
08/05/20     Paul Shields                 Spoke with debtor's counsel and              0.50      590.00           295.00
                                          financial advisor, and UCC counsel
                                          regarding production of records in
                                          connection with motion to dismiss.
08/14/20     Paul Shields                 Reviewed list of Carr, Riggs & Ingram        0.50      590.00           295.00
                                          documents and made follow up
                                          request for items not produced.
                                          Total for Task Code 200.90                   1.80                     1,024.50

Task Code: 211.03 - Bankruptcy Proceedings (Filings / Motions - Motion to Dismiss)
08/03/20     Paul Shields               Analyzed documents in connection               1.50      590.00           885.00
                                        with upcoming motion to dismiss
                                        hearing including motion to dismiss
                                        and related exhibits, credit rating
                                        reports, and economic research.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 5 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/03/20     Paul Shields                 Spoke with UCC Counsel regarding             0.90      590.00           531.00
                                          issues to address in connection with
                                          motion to dismiss.
08/03/20     Spencer Smith                Researched industry and                      1.00      150.00           150.00
                                          benchmarking data.
08/03/20     Nicholas Zeien               Researched industry and                      0.50      340.00           170.00
                                          benchmarking data.
08/04/20     Sherry L. Anthon             Prepared comparative Statement of            2.40      195.00           468.00
                                          Activities and reviewed expenses for
                                          the years 2008 to 2013.
08/04/20     Sherry L. Anthon             Prepared comparative Statement of            3.20      195.00           624.00
                                          Activities and reviewed expenses for
                                          the years 2014 to 2019.
08/04/20     Evelyn Perry                 Prepared and reconciled schedule of          2.90      175.00           507.50
                                          functional expenses for Archdiocese
                                          from 2014 through 2019 from audit
                                          records.
08/04/20     Evelyn Perry                 Prepared and reconciled schedule of          3.50      175.00           612.50
                                          functional expenses for Archdiocese
                                          from 2008 through 2013 from audit
                                          records.
08/04/20     Paul Shields                 Analyzed records in connection with          2.10      590.00         1,239.00
                                          motion to dismiss.
08/04/20     Paul Shields                 Evaluated economic data in                   1.30      590.00           767.00
                                          connection with preliminary solvency
                                          assessment.
08/04/20     Paul Shields                 Evaluated comparative financial              1.30      590.00           767.00
                                          information and instructed staff
                                          regarding updates to said information.
08/05/20     Sherry L. Anthon             Updated comparative Statements of            3.40      195.00           663.00
                                          Financial Position for the years 2008 to
                                          2019.
08/05/20     Paul Shields                 Outlined issues for consideration in         0.80      590.00           472.00
                                          connection with production of records
                                          and preliminary solvency assessment.
08/05/20     Paul Shields                 Read motion to dismiss and related           1.00      590.00           590.00
                                          exhibits.
08/06/20     Jeffrey Shaw                 Reviewed case documents in                   1.00      455.00           455.00
                                          connection with solvency analysis.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 6 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/06/20     Paul Shields                 Evaluated bond and real estate issues,       2.60      590.00         1,534.00
                                          including calls with BRG personnel
                                          (OK) and Phil Cook of J. Philip Cook &
                                          Associates regarding issues and
                                          analysis.
08/06/20     Paul Shields                 Analyzed financial information and           5.20      590.00         3,068.00
                                          prepared preliminary responses to
                                          Carr, Riggs & Ingram report.
08/07/20     Shelby Chaffos               Examined documents uploaded to               1.00      220.00           220.00
                                          Everlaw platform including discussions
                                          with BRG Managing Director.
08/07/20     David Judd                   Conducted further analysis and               0.90      640.00           576.00
                                          evaluation of issues to address relating
                                          to CRI report, including calls with Paul
                                          Shields.
08/07/20     Ozgur Kan                    Analyzed Bond Offering Official              3.30      600.00         1,980.00
                                          Statement, rating announcements and
                                          rating agency methodologies.
08/07/20     Ozgur Kan                    Obtained case background, including          2.70      600.00         1,620.00
                                          analysis of case materials, bankruptcy
                                          filings, CRI report, and calls with Paul
                                          Shields.
08/07/20     Jeffrey Shaw                 Reviewed and verified comparative            3.60      455.00         1,638.00
                                          statement of financial condition and
                                          statement of activities for the years
                                          2014 to 2019, including calls with Paul
                                          Shields.
08/07/20     Jeffrey Shaw                 Reviewed and verified comparative            4.00      455.00         1,820.00
                                          statement of financial condition and
                                          statement of activities for the years
                                          2008 to 2013, including calls with Paul
                                          Shields.
08/07/20     Paul Shields                 Spoke with committee counsel (JM)            0.30      590.00           177.00
                                          regarding financial analysis and
                                          response to Carr, Riggs & Ingram
                                          report.
08/07/20     Paul Shields                 Analyzed bond issues and credit              2.10      590.00         1,239.00
                                          rating, real estate trends and financial
                                          analysis, including calls with BRG
                                          personnel (OK and DJ), and Phil Cook
                                          of J. Philip Cook & Associates.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 7 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/07/20     Paul Shields                 Spoke with BRG staff (JS and SA)             0.50      590.00           295.00
                                          regarding preparation of comparative
                                          financial information.
08/07/20     Paul Shields                 Instructed BRG personnel (SA and SC)         1.20      590.00           708.00
                                          regarding high school financial
                                          information and preparation of
                                          comparative financial information.
08/07/20     Paul Shields                 Communicated with UCC Counsel (GB            0.20      590.00           118.00
                                          and GB) regarding document review
                                          and organization.
08/08/20     Shelby Chaffos               Reviewed ANO (20-10846)_00000202-            2.00      220.00           440.00
                                          00000883 documents to identify
                                          financial documents for Pope John
                                          Paul II High School.
08/08/20     Shelby Chaffos               Reviewed (ANO (20-                           2.00      220.00           440.00
                                          10846)_00000158-00000196)
                                          documents to identify trail balance
                                          documents for the 9 school entities.
08/08/20     Shelby Chaffos               Reviewed ANO (20-10846)_00000884-            2.00      220.00           440.00
                                          000001541 documents to identify
                                          financial documents for Archbishop
                                          Chapelle High School.
08/08/20     Ozgur Kan                    Continued analysis of case materials,        5.00      600.00         3,000.00
                                          including financial statements,
                                          continuing disclosure documents,
                                          bankruptcy filing and CRI report.
08/08/20     Paul Shields                 Prepared report narrative responding         5.20      590.00         3,068.00
                                          to issues and financial analysis set
                                          forth in CRI report.
08/08/20     Paul Shields                 Communicated with UCC Counsel                0.60      590.00           354.00
                                          regarding financial analysis and
                                          solvency issues.
08/08/20     Paul Shields                 Analyzed financial records and other         0.80      590.00           472.00
                                          documents on Everlaw.
08/09/20     Ozgur Kan                    Analyzed rating agency announcement          4.00      600.00         2,400.00
                                          and actions, and credit opinions in
                                          response to credit rating issues set
                                          forth in CRI report.
08/09/20     Paul Shields                 Participated on status call with UCC         1.00      590.00           590.00
                                          Counsel on rebuttal to CRI report.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 8 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/10/20     Sherry L. Anthon             Researched Scholastica High School           2.70      195.00           526.50
                                          records to prepare Comparative
                                          Financial Statements.
08/10/20     Sherry L. Anthon             Researched Rummel High School                2.90      195.00           565.50
                                          records to prepare comparative
                                          financial statements.
08/10/20     Shelby Chaffos               Reviewed ANO (20-10846)_00001541-            3.00      220.00           660.00
                                          00002129 documents to identify
                                          financial documents for St. Charles
                                          Catholic School.
08/10/20     Shelby Chaffos               Reviewed ANO (20-10846)_00002129-            3.00      220.00           660.00
                                          00002738 documents to identify
                                          financial documents for St. Michael's
                                          Special School.
08/10/20     Shelby Chaffos               Reviewed ANO (20-10846)_00000001-            1.00      220.00           220.00
                                          00026194 documents to identify
                                          finance council, audit and investment
                                          subcommittee minutes.
08/10/20     Shelby Chaffos               Spoke with BRG team regarding                1.00      220.00           220.00
                                          process of reviewing supporting
                                          documents.
08/10/20     Shelby Chaffos               Reviewed ANO (20-10846)_00005753-            1.00      220.00           220.00
                                          00006102 documents to identify
                                          financial documents for Archbishop
                                          Shaw High School.
08/10/20     Ozgur Kan                    Prepared memorandum setting forth            4.40      600.00         2,640.00
                                          opinions, analysis rationale and basis
                                          in response to credit rating issues set
                                          forth in CRI report, including calls with
                                          Paul Shields regarding report.
08/10/20     Ozgur Kan                    Developed schedules and financial            3.60      600.00         2,160.00
                                          analysis for inclusion in memorandum
                                          in response to credit rating issues set
                                          forth in CRI report.
08/10/20     Paul Shields                 Reviewed and updated comparative             3.50      590.00         2,065.00
                                          financial information and developed
                                          financial analysis.
08/10/20     Paul Shields                 Spoke with BRG (OK) regarding status         0.90      590.00           531.00
                                          of analysis and to discuss issues
                                          relevant to analysis of bonds, credit
                                          rating and financial ratios.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 9 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/10/20     Paul Shields                 Continued preparation of report              3.40      590.00         2,006.00
                                          narrative.
08/10/20     Paul Shields                 Spoke with BRG staff (SC, SA, and CT)        0.40      590.00           236.00
                                          regarding analysis of Debtor's
                                          document production and additional
                                          work to be performed.
08/10/20     Christina Tergevorkian       Analyzed Statement of Activities for         0.80      270.00           216.00
                                          Archbishop Chapelle High School.
08/10/20     Christina Tergevorkian       Reviewed ANO (20-10846)_00002742-            3.00      270.00           810.00
                                          00003428 documents to identify
                                          financial documents for Archbishop
                                          Hannan High School.
08/10/20     Christina Tergevorkian       Spoke with team members to discuss           1.00      270.00           270.00
                                          financial document analysis project for
                                          the nine schools.
08/10/20     Christina Tergevorkian       Reviewed ANO (20-10846)_00005458-            1.30      270.00           351.00
                                          00005752 documents to identify
                                          financial documents for Archbishop
                                          Shaw High School.
08/10/20     Christina Tergevorkian       Reviewed ANO (20-10846)_00003429-            1.70      270.00           459.00
                                          00003986 documents to identify
                                          financial documents for Academy of
                                          Our Lady.
08/11/20     Sherry L. Anthon             Assisted with preparation of listing of      1.80      195.00           351.00
                                          documents relied upon and
                                          considered in connection with rebuttal
                                          report on motion to dismiss.
08/11/20     Shelby Chaffos               Analyzed financial statements and            2.50      220.00           550.00
                                          created a comparative analysis for St.
                                          Michael Special School.
08/11/20     Shelby Chaffos               Analyzed June 30, 2020 trial balance         1.00      220.00           220.00
                                          for each of the 9 schools.
08/11/20     Shelby Chaffos               Analyzed financial statements and            2.50      220.00           550.00
                                          created a comparative analysis for St.
                                          Charles Catholic School.
08/11/20     Shelby Chaffos               Prepared graphs of comparative               1.00      220.00           220.00
                                          financial statements in preparation for
                                          rebuttal report.
08/11/20     Shelby Chaffos               Analyzed financial statements and            2.50      220.00           550.00
                                          created a comparative analysis for St.
                                          Scholastica Academy.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 10 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/11/20     Ozgur Kan                    Reviewed and updated memorandum              2.00      600.00         1,200.00
                                          setting forth opinions, analysis
                                          rationale and basis in response to
                                          credit rating issues set forth in CRI
                                          report, including calls with Paul
                                          Shields.
08/11/20     Paul Shields                 Spoke with BRG staff (SC, CT, and SA)        1.30      590.00           767.00
                                          regarding analysis of school financial
                                          information and documents produced
                                          by Carr, Riggs & Ingram.
08/11/20     Paul Shields                 Reviewed narrative prepared by BRG           2.10      590.00         1,239.00
                                          (OK) relating to credit analysis and
                                          ratings, including calls with Ozgur Kan
                                          to discuss issues.
08/11/20     Paul Shields                 Spoke with UCC Counsel (JM, DB, and          1.80      590.00         1,062.00
                                          GB) to address status and issues
                                          relating to rebuttal report and
                                          organization and review of records on
                                          document management site.
08/11/20     Paul Shields                 Analyzed minutes of Archdiocesan             1.70      590.00         1,003.00
                                          Finance Council.
08/11/20     Paul Shields                 Reviewed and updated report                  4.20      590.00         2,478.00
                                          narrative.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Archbishop Hannan High School.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Archbishop Chapelle High School.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Archbishop Rummel High School.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Academy of Our Lady.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Pope John Paul II High School.
08/11/20     Christina Tergevorkian       Analyzed financial statements and            1.50      270.00           405.00
                                          created a comparative analysis for
                                          Archbishop Shaw High School.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 11 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
08/11/20     Christina Tergevorkian       Analyzed June 30, 2020 Trial Balance         1.00      270.00           270.00
                                          for each of the nine schools.
08/12/20     Shelby Chaffos               Updated formatting of comparative            2.00      220.00           440.00
                                          financial statement schedules for
                                          printing.
08/12/20     Shelby Chaffos               Reviewed supporting documents in             3.00      220.00           660.00
                                          preparation for rebuttal report.
08/12/20     Shelby Chaffos               Prepared appendices in preparation           3.00      220.00           660.00
                                          for rebuttal report.
08/12/20     Alisa Hulme                  Conducted grammatical review of              1.00      215.00           215.00
                                          report on motion to dismiss.
08/12/20     Paul Shields                 Reviewed finance counsel minutes.            2.20      590.00         1,298.00
08/12/20     Paul Shields                 Continued preparation of expert              2.90      590.00         1,711.00
                                          report schedules and appendices.
08/12/20     Paul Shields                 Conducted final review of expert             4.60      590.00         2,714.00
                                          report narrative, schedules and
                                          appendices.
08/12/20     Paul Shields                 Made final updates to expert report          2.80      590.00         1,652.00
                                          narrative.
08/12/20     Christina Tergevorkian       Conducted background research in             0.60      270.00           162.00
                                          connection with rebuttal report.
08/13/20     Paul Shields                 Spoke with UCC Counsel regarding             0.70      590.00           413.00
                                          status, issues and follow up analysis.
08/13/20     Paul Shields                 Organized records supporting motion          0.40      590.00           236.00
                                          to dismiss.
08/13/20     Paul Shields                 Communicated on real estate                  1.40      590.00           826.00
                                          appraisals, and reviewed and updated
                                          summary schedule of appraisals.
08/13/20     Christina Tergevorkian       Reviewed property appraisal reports          1.50      270.00           405.00
                                          for 24 properties to create a chart.
08/14/20     Shelby Chaffos               Researched supporting documents in           0.50      220.00           110.00
                                          Everlaw to identify FY 2019 Financial
                                          Statement.
08/14/20     Paul Shields                 Accumulated and organized                    2.60      590.00         1,534.00
                                          documents considered / relied upon in
                                          preparation for production of these
                                          records to the Debtor and Debtor
                                          professionals.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 12 of 16
c/o: Official Committee of Unsecured Creditors                                                             Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for            Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                          Description                                Hours         Rate          Amount
08/14/20     Christina Tergevorkian        Researched supporting documents in           0.50      270.00           135.00
                                           Everlaw to identify FY 2019 Financial
                                           Statement.
08/18/20     Shelby Chaffos                Prepared exhibits in preparation for         1.50      220.00           330.00
                                           hearing on motion to dismiss.
08/18/20     Paul Shields                  Directed and assisted with preparation       3.80      590.00         2,242.00
                                           of demonstratives for hearing on
                                           motion to dismiss.
08/18/20     Paul Shields                  Accumulated information from key             2.40      590.00         1,416.00
                                           exhibits for consideration at hearing
                                           on motion to dismiss.
08/18/20     Christina Tergevorkian        Prepared demonstratives for hearing          0.80      270.00           216.00
                                           on motion to dismiss.
08/19/20     Paul Shields                  Communicated with UCC Counsel                0.70      590.00           413.00
                                           regarding potential issue for
                                           consideration at hearing on motion to
                                           dismiss.
08/26/20     Paul Shields                  Participated on call with UCC Counsel        1.50      590.00           885.00
                                           regarding post-hearing brief on
                                           motion to dismiss.
08/26/20     Paul Shields                  Reviewed post-hearing brief on               1.50      590.00           885.00
                                           motion to dismiss and provided edits
                                           for consideration.
                                           Total for Task Code 211.03                 191.90                    82,362.00

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
08/03/20     Paul Shields                Analyzed receipts and disbursements       2.40    590.00                1,416.00
                                         data and monthly operating reports in
                                         preparation for committee call.
08/03/20     Paul Shields                  Reviewed receipts and disbursements          0.30      590.00           177.00
                                           analysis and communicated updates
                                           to be made.
                                           Total for Task Code 220.00                   2.70                     1,593.00

Task Code: 300.00 - Asset Analysis (General - Debtors)
08/03/20     Matthew Babcock             Updated analysis of bankruptcy                 1.30      515.00           669.50
                                         schedules and statements.
                                           Total for Task Code 300.00                   1.30                       669.50

Task Code: 420.00 - Litigation Analysis (Expert Report Evaluation)
08/05/20     Paul Shields                  Analyzed Carr, Riggs & Ingram report.        1.90      590.00         1,121.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 13 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                          Description                                Hours        Rate          Amount
08/06/20     Matthew Babcock               Analyzed Debtor's financial distress        0.90      515.00           463.50
                                           report.
08/06/20     David Judd                    Continued analysis and evaluation of        0.60      640.00           384.00
                                           issues to address relating to CRI
                                           report.
08/06/20     David Judd                    Reviewed financial expert report            0.50      640.00           320.00
                                           regarding financial difficulties of the
                                           New Orleans Arch Diocese.
08/06/20     Paul Shields                  Continued analysis of Carr, Riggs &         0.80      590.00           472.00
                                           Ingram report and outlined issues to
                                           address.
08/12/20     David Judd                    Continued review of Paul Shields            0.90      640.00           576.00
                                           expert report and proposed updates.
08/12/20     David Judd                    Reviewed and proposed updates to            0.70      640.00           448.00
                                           Paul Shields expert report.
                                           Total for Task Code 420.00                  6.30                     3,784.50

Task Code: 600.00 - Claims / Liability Analysis (General)
08/24/20     Matthew Babcock               Analyzed scheduled unsecured claims         1.60      515.00           824.00
                                           in response to inquiry from the Court.
08/24/20     Paul Shields                  Participated in a portion of the call       0.20      590.00           118.00
                                           with UCC Counsel regarding categories
                                           of unsecured claims and the amount
                                           of such claims.
08/24/20     Christina Tergevorkian        Reviewed Schedule of Creditors with         2.20      270.00           594.00
                                           Non-Priority Unsecured Claims to
                                           provide a better breakdown of
                                           categories.
08/24/20     Christina Tergevorkian        Analyzed Schedule of Creditors with         3.00      270.00           810.00
                                           Non-Priority Unsecured Claims to
                                           provide a better breakdown of
                                           categories.
08/25/20     Matthew Babcock               Finalized analysis of scheduled             0.50      515.00           257.50
                                           unsecured claims.
08/25/20     Paul Shields                  Reviewed and updated summary of             0.80      590.00           472.00
                                           unsecured / non-priority claims.
08/25/20     Christina Tergevorkian        Finalized summary Schedule of               1.00      270.00           270.00
                                           Creditors with Non-Priority Unsecured
                                           Claims.
                                           Total for Task Code 600.00                  9.30                     3,345.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                              Page 14 of 16
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 1000.00 - Case Administration
08/04/20     Paul Shields                Reviewed protective order and                 0.30      590.00           177.00
                                         executed Exhibit 1 to protective order
                                         and submitted to counsel.
08/10/20     Paul Shields                 Communicated regarding update to             0.10      590.00            59.00
                                          budget estimate in connection with
                                          work on motion to dismiss.
                                          Total for Task Code 1000.00                  0.40                       236.00

Task Code: 1020.00 - Meeting Preparation & Attendance
08/03/20     Matthew Babcock            Participated in call with UCC Counsel          0.90      515.00           463.50
                                        in order to discuss motion to dismiss.
08/03/20     Matthew Babcock              Participated in UCC call.                    1.50      515.00           772.50
08/03/20     Matthew Babcock              Spoke with UCC Counsel (LC, DB)              0.40      515.00           206.00
                                          regarding case issues.
08/03/20     Paul Shields                 Participated on UCC call.                    1.50      590.00           885.00
08/03/20     Paul Shields                 Spoke with UCC Counsel (LC and DB) in        0.40      590.00           236.00
                                          preparation for committee call.
08/03/20     Paul Shields                 Evaluated matters to address in              0.70      590.00           413.00
                                          upcoming committee call.
08/04/20     Matthew Babcock              Participated in UCC Counsel call.            1.20      515.00           618.00
08/04/20     Paul Shields                 Participated on call with UCC Counsel        1.20      590.00           708.00
                                          and counsel representing committee
                                          members.
08/04/20     Paul Shields                 Outlined issues to address in call with      0.50      590.00           295.00
                                          financial advisor to the debtor.
08/05/20     Paul Shields                 Analyzed financial information in            1.30      590.00           767.00
                                          preparation for call with debtor's
                                          counsel and financial advisor, and UCC
                                          counsel.
08/06/20     Matthew Babcock              Participated in conference call with         0.50      515.00           257.50
                                          UCC Counsel (LC, DB).
08/13/20     Matthew Babcock              Participated in call with UCC counsel.       0.70      515.00           360.50
08/24/20     Matthew Babcock              Participated in call with UCC counsel.       0.50      515.00           257.50
                                          Total for Task Code 1020.00                 11.30                     6,239.50

Task Code: 1050.00 - Deposition Preparation & Attendance
08/10/20     Paul Shields                Communicated regarding upcoming               0.20      590.00           118.00
                                         depositions.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                               Page 15 of 16
c/o: Official Committee of Unsecured Creditors                                                             Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for            Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours         Rate          Amount
08/11/20     David Judd                   Reviewed memos and correspondence             0.30      640.00           192.00
                                          in preparation for depositions of
                                          Archdiocese of New Orleans
                                          personnel.
08/12/20     David Judd                   Attended deposition of Jeffrey                3.80      640.00         2,432.00
                                          Entwisle via Zoom.
08/12/20     David Judd                   Attended deposition of Father Patrick         4.20      640.00         2,688.00
                                          Carr via Zoom.
08/12/20     Paul Shields                 Forwarded information to UCC                  0.20      590.00           118.00
                                          Counsel in connection with
                                          depositions.
08/14/20     David Judd                   Attended deposition of Jeffrey                3.70      640.00         2,368.00
                                          Entwisle via Zoom.
08/16/20     Paul Shields                 Spoke with UCC Counsel (DB) to assist         1.40      590.00           826.00
                                          in preparation for Steve Riggs
                                          deposition.
08/16/20     Paul Shields                 Spoke with UCC Counsel (DB)                   1.30      590.00           767.00
                                          regarding Kathleen Zuniga deposition
                                          and follow up analysis relating to real
                                          estate values and $8.5 million reserve.
08/17/20     Paul Shields                 Provided deposition testimony.                3.80      590.00         2,242.00
08/17/20     Paul Shields                 Analyzed credit analyst press releases        2.50      590.00         1,475.00
                                          and Semi-annual Financial Information
                                          Statement FY 2020 in preparation for
                                          deposition.
08/17/20     Paul Shields                 Analyzed footnotes to the financial           2.60      590.00         1,534.00
                                          statements and other records
                                          produced by the debtor in preparation
                                          for deposition.
08/17/20     Paul Shields                 Reviewed Carr, Riggs & Ingram report          3.30      590.00         1,947.00
                                          and BRG report in preparation for
                                          deposition.
08/17/20     Paul Shields                 Communicated with counsel regarding           0.20      590.00           118.00
                                          additional information for
                                          consideration in Steve Riggs
                                          deposition.
                                          Total for Task Code 1050.00                  27.50                    16,825.00

Professional Services                                                                 254.40                   117,267.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                      Page 16 of 16
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108276
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

DETAIL OF EXPENSES

Date             Description                                                                             Amount
Data Research
08/31/20         Eikon* (thomsonreuters.com)                                                               14.44
08/31/20         Statista* (statista.com)                                                                   6.55
08/31/20         IBISWorld* (ibisworld.com)                                                                 1.42
08/31/20         S&P - Capital IQ* (capitaliq.com)                                                         10.65
08/31/20         Debtwire* (debtwire.com)                                                                  98.04
                 Total For Data Research                                                                  131.10
Real Estate Consulting Services
08/31/20         J. Philip Cook and Associates, LLC - Invoice #: 25355                                  3,648.75
                 Total For Real Estate Consulting Services                                              3,648.75

Expenses                                                                                                3,779.85
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                                      EXHIBIT E

                                   (September Invoice)




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To:                                                                                                      Page 2 of 5
c/o: The Official Committee of Unsecured Creditors for The Roman Catholic Church for               Invoice # 108277
the Archdiocese of New Orleans                                                         Client-Matter: 20532-033612
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for
the Archdiocese of New Orleans

Services Rendered From September 1, 2020 Through September 30, 2020

PROFESSIONAL SERVICES
                                                                              Rate       Hours            Amount
Managing Director
  Paul Shields                                                             590.00         8.40           4,956.00

Associate Director
   Matthew Babcock                                                         515.00         2.10           1,081.50

Total Professional Services                                                              10.50           6,037.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 5
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108277
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
   200.00     Document / Data Analysis (General)                                          1.80          1,062.00
   200.90     Document / Data Analysis (Production Requests)                              6.10          3,441.50
  1020.00     Meeting Preparation & Attendance                                            1.90          1,121.00
  1060.00     Fee Application Preparation & Hearing                                       0.70            413.00

Total Professional Services                                                               10.50         6,037.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 5
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108277
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From September 1, 2020 Through September 30, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.00 - Document / Data Analysis (General)
09/05/20     Paul Shields              Reviewed and forwarded information              0.20      590.00           118.00
                                       to UCC Counsel relating to listing of
                                       potential non-debtor affiliated
                                       entities.
09/18/20     Paul Shields                 Evaluated issues associated with             0.90      590.00           531.00
                                          documents needed to assess ratios as
                                          set forth in the semi-annual financial
                                          information statements, including
                                          communications with UCC Counsel
                                          regarding same.
09/23/20     Paul Shields                 Spoke with UCC Counsel regarding             0.30      590.00           177.00
                                          issues associated with proposed
                                          settlement between the Archdiocese
                                          and Indenture Trustee.
09/28/20     Paul Shields                 Reviewed communication from                  0.40      590.00           236.00
                                          Archdiocese financial advisor (KZ)
                                          providing additional information
                                          relating to calculation of financial
                                          covenants, as well as preparation and
                                          submission of request for additional
                                          information.
                                          Total for Task Code 200.00                   1.80                     1,062.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
09/03/20     Paul Shields              Reviewed and responded to                       0.10      590.00            59.00
                                       communications relating to requests
                                       for additional records.
09/04/20     Matthew Babcock              Prioritized document request list.           0.60      515.00           309.00
09/04/20     Matthew Babcock              Spoke with UCC Counsel regarding             0.90      515.00           463.50
                                          document requests.
09/04/20     Paul Shields                 Call with UCC Counsel regarding follow       0.80      590.00           472.00
                                          up with document requests and
                                          further financial analysis.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 5
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108277
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
09/07/20     Paul Shields                 Reviewed previously prepared                 0.80      590.00           472.00
                                          document request and identified
                                          highest priority requests for
                                          documentation.
09/08/20     Matthew Babcock              Finalized document request and               0.30      515.00           154.50
                                          provided to UCC Counsel for review
                                          and comment.
09/14/20     Matthew Babcock              Reviewed revised document request,           0.30      515.00           154.50
                                          including follow-up on related issues.
09/14/20     Paul Shields                 Communicated with UCC Counsel                0.30      590.00           177.00
                                          regarding updates to document
                                          request.
09/16/20     Paul Shields                 Spoke with committee counsel                 1.50      590.00           885.00
                                          regarding follow up issues relating to
                                          document request.
09/19/20     Paul Shields                 Communicated with UCC Counsel                0.50      590.00           295.00
                                          regarding document request.
                                          Total for Task Code 200.90                   6.10                     3,441.50

Task Code: 1020.00 - Meeting Preparation & Attendance
09/23/20     Paul Shields               Prepared for and participated on call          1.90      590.00         1,121.00
                                        with Kathleen Zuniga.
                                          Total for Task Code 1020.00                  1.90                     1,121.00

Task Code: 1060.00 - Fee Application Preparation & Hearing
09/28/20     Paul Shields                Communicated with UCC Counsel                 0.30      590.00           177.00
                                         regarding fee application preparation.
09/28/20     Paul Shields                 Reviewed fee applications prepared by        0.40      590.00           236.00
                                          other professionals in the Archdiocese
                                          of New Orleans matter.
                                          Total for Task Code 1060.00                  0.70                       413.00

Professional Services                                                                 10.50                     6,037.50
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                                      EXHIBIT F

                                    (October Invoice)




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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 2 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108281
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From October 1, 2020 Through October 31, 2020

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Ernest Dixon                                                             695.00        1.20             834.00
  Paul Shields                                                             590.00       13.70           8,083.00

Associate Director
   Matthew Babcock                                                         515.00        7.10           3,656.50

Total Professional Services                                                             22.00          12,573.50

EXPENSES

Data Research                                                                                              19.30
Total Expenses                                                                                             19.30
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 108281
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.90      Document / Data Analysis (Production Requests)                             10.90          6,093.50
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
   220.00     Reporting)                                                                   1.90         1,121.00
  1000.00     Case Administration                                                          2.80         1,607.00
  1020.00     Meeting Preparation & Attendance                                             2.00         1,030.00
  1040.00     Hearing / Trial Preparation & Attendance                                     4.40         2,722.00

Total Professional Services                                                               22.00        12,573.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108281
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From October 1, 2020 Through October 31, 2020

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.90 - Document / Data Analysis (Production Requests)
10/02/20     Paul Shields              Participated on call with UCC Counsel           1.70      590.00         1,003.00
                                       (JS, LC, GB, RK and DB) regarding
                                       document requests and other case
                                       issues.
10/07/20     Matthew Babcock              Prepared revised document                    1.00      515.00           515.00
                                          production request.
10/08/20     Matthew Babcock              Updated revised document production          1.30      515.00           669.50
                                          request.
10/08/20     Matthew Babcock              Spoke with UCC (LC, DB) regarding            0.90      515.00           463.50
                                          document production requests.
10/08/20     Paul Shields                 Consolidated information from                0.70      590.00           413.00
                                          existing document requests.
10/08/20     Paul Shields                 Spoke with UCC Counsel (LC, DB)              0.90      590.00           531.00
                                          regarding updates to requests for
                                          documentation.
10/09/20     Matthew Babcock              Revised document production                  1.30      515.00           669.50
                                          requests, including discussions with
                                          BRG (PS).
10/09/20     Paul Shields                 Consolidated information from                1.30      590.00           767.00
                                          existing document requests, including
                                          discussions with BRG personnel (MB).
10/26/20     Paul Shields                 Reviewed and updated document                1.80      590.00         1,062.00
                                          request and outlined additional issues
                                          for consideration in connection with
                                          document request.
                                          Total for Task Code 200.90                  10.90                     6,093.50

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
10/27/20     Paul Shields                Reviewed period reporting and             0.40    590.00                 236.00
                                         communicated issues relating to
                                         redactions.
10/31/20     Paul Shields                 Uploaded periodic interim reports.           0.40      590.00           236.00
10/31/20     Paul Shields                 Evaluated September Chapter 11               1.10      590.00           649.00
                                          Financial Report.
                                          Total for Task Code 220.00                   1.90                     1,121.00
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108281
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                          Description                                Hours        Rate          Amount

Task Code: 1000.00 - Case Administration
10/05/20     Matthew Babcock             Reviewed issues related to budget             0.30      515.00           154.50
                                         request.
10/05/20     Paul Shields                  Evaluated issues relating to request        0.40      590.00           236.00
                                           from counsel for a committee member
                                           for a more detailed budget from BRG,
                                           including communications regarding
                                           same.
10/06/20     Matthew Babcock               Evaluated issues related to budget          0.30      515.00           154.50
                                           request from UCC member.
10/06/20     Paul Shields                  Evaluated issues relating to request        0.80      590.00           472.00
                                           from counsel for a committee member
                                           for a more detailed budget from BRG,
                                           including communications regarding
                                           same.
10/07/20     Paul Shields                  Evaluated issues relating to request        0.80      590.00           472.00
                                           from counsel for a committee member
                                           for a more detailed budget from BRG,
                                           including communications regarding
                                           same.
10/08/20     Paul Shields                  Communicated regarding request for          0.20      590.00           118.00
                                           additional information relating to BRG
                                           budget.
                                           Total for Task Code 1000.00                 2.80                     1,607.00

Task Code: 1020.00 - Meeting Preparation & Attendance
10/02/20     Matthew Babcock            Participated in UCC call (JS, LC, GB, RK,      1.70      515.00           875.50
                                        DB).
10/05/20     Matthew Babcock               Participated in call with UCC Counsel       0.30      515.00           154.50
                                           regarding case issues.
                                           Total for Task Code 1020.00                 2.00                     1,030.00

Task Code: 1040.00 - Hearing / Trial Preparation & Attendance
10/15/20     Paul Shields                 Reviewed noticed of proposed witness         0.40      590.00           236.00
                                          testimony and provided edits to
                                          counsel, including call with UCC
                                          Counsel.
10/21/20     Ernest Dixon                  Researched GAAP standards for loan          1.20      695.00           834.00
                                           loss reserves, including discussion and
                                           providing research materials.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 6 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 108281
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the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
10/21/20     Paul Shields                 Spoke with UCC Counsel (DB)                  0.50      590.00           295.00
                                          regarding analysis to perform in
                                          connection with analysis contained in
                                          Kathleen Zuniga declaration.
10/21/20     Paul Shields                 Analyzed Kathleen Zuniga declaration         0.90      590.00           531.00
                                          and financial model produced in
                                          connection with Ms. Zuniga's
                                          declaration, including financial analysis
                                          in response to inquiry submitted by
                                          counsel.
10/21/20     Paul Shields                 Evaluated issues relating to loan loss       0.60      590.00           354.00
                                          reserves, including discussion with
                                          BRG personnel (ED).
10/22/20     Paul Shields                 Analyzed information relating to             0.80      590.00           472.00
                                          reserve assessment as set forth in
                                          Kathleen Zuniga declaration.
                                          Total for Task Code 1040.00                  4.40                     2,722.00

Professional Services                                                                 22.00                    12,573.50

DETAIL OF EXPENSES

Date             Description                                                                                     Amount
Data Research
10/31/20         CCH - Accounting Research Manager* (accountingresearchmanager.com)                                19.30
                 Total For Data Research                                                                           19.30

Expenses                                                                                                           19.30
